              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:17-cr-00012-MR-WCM


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
     vs.                        )                    ORDER
                                )
TRAVIS LINDSEY MEHAFFEY,        )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court the Defendant’s Motion for

Compassionate Release Pursuant to 18 U.S.C. § 2581(c)(1)(A) [Doc. 65]

and the Government’s Motion to Seal [Doc. 70]. The Government opposes

the Defendant’s motion for a reduction of his sentence. [Doc. 68].

I.   BACKGROUND

     In February 2017, the Defendant Travis Lindsey Mehaffey was

charged in a Bill of Indictment with one count of receiving child pornography

in violation of 18 U.S.C. § 2252(A)(a)(2)(A) (Count One) and one count of

possession of child pornography in violation of 18 U.S.C. § 2252(A)(a)(5)(B)

(Count Two).    [Doc. 13].    Pursuant to a written plea agreement, the

Defendant pled guilty to Count One in exchange for the dismissal of Count

Two. [Doc. 21]. At sentencing in November 2017, the Court calculated an


     Case 1:17-cr-00012-MR-WCM Document 71 Filed 11/09/20 Page 1 of 11
advisory guideline range of 135 to 168 months, with a mandatory minimum

sentence of five years of imprisonment. [Doc. 46 at ¶¶ 65, 66]. The Court,

however, granted a downward variance and imposed a sentence of 114

months of imprisonment and a lifetime term of supervised release. [Doc. 52].

The Defendant is currently serving his sentence at FMC Lexington, and his

projected release date is October 21, 2025.1

         The Defendant now seeks a reduction in his sentence pursuant to 18

U.S.C. § 3582(c)(1)(A)(i) in light of the ongoing COVID-19 pandemic. [Doc.

65]. Specifically, the Defendant argues that his underlying health conditions

place him at a higher risk for severe illness from COVID-19, and that his

particular vulnerability to the illness is an extraordinary and compelling

reason for an immediate sentence reduction to time served. [Id.].           The

Defendant further seeks a reduction in sentence on the grounds that “the

sentencing ranges for sex offenders may be too harsh.” [Id. at 1-2]. The

Court ordered the Government to respond to the Defendant’s motion, and

the Government filed its response on October 16, 2020. [Doc. 68]. This

matter is now ripe for adjudication.



1   See https://www.bop.gov/inmateloc/ (last visited Oct. 28, 2020).


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        Case 1:17-cr-00012-MR-WCM Document 71 Filed 11/09/20 Page 2 of 11
II.   DISCUSSION

      Section 3582(c)(1)(A), as amended by The First Step Act of 2018, Pub.

L. No. 115-391, 132 Stat. 5194, 5239 (Dec. 21, 2018), permits a defendant

to seek a modification of his sentence for “extraordinary and compelling

reasons,” if the defendant has “fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

behalf or the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier.”      18 U.S.C. §

3582(c)(1)(A). Here, the Government concedes that the Defendant has

exhausted the necessary administrative remedies. Accordingly, the Court

will proceed to address the merits of the Defendant’s motion.

      As is relevant here, the Court may reduce a defendant’s sentence

under § 3582(c)(1)(A)(i) “extraordinary and compelling reasons” if “such

reduction is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i). The Court must also

consider the factors set forth in 18 U.S.C. § 3553(a), to the extent that such

factors are applicable. Id.




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      Case 1:17-cr-00012-MR-WCM Document 71 Filed 11/09/20 Page 3 of 11
       Sentencing Guidelines § 1B1.13 is the Sentencing Commission’s

policy statement applicable to compassionate release reductions.2                      See

U.S.S.G. § 1B1.13. As is pertinent here, this policy statement provides that

the Court may reduce a term of imprisonment after considering the § 3553(a)

factors if the Court finds that (1) “[e]xtraordinary and compelling reasons

warrant the reduction;” (2) “[t]he defendant is not a danger to the safety of

any other person or to the community, as provided in 18 U.S.C. § 3142(g);”

and (3) “[t]he reduction is consistent with this policy statement.” U.S.S.G. §

1B1.13.

       The application note to § 1B1.13 specifies the types of circumstances

that qualify as “extraordinary and compelling reasons.” First, the defendant’s

medical condition can qualify as a basis for relief if the defendant is “suffering

from a terminal illness,” such as “metastatic solid-tumor cancer, amyotrophic



2  The policy statement refers only to motions filed by the BOP Director. That is because
this policy statement was last amended on November 1, 2018, and until the enactment of
the First Step Act on December 21, 2018, defendants were not permitted to file motions
under § 3582(c). See First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194, 5239.
In light of the statutory requirement that any sentence reduction be “consistent with
applicable policy statements issued by the Sentencing Commission,” § 3582(c)(1)(A), and
the lack of any plausible reason to treat motions filed by defendants differently from
motions filed by BOP, the Court concludes that this policy statement applies to motions
filed by defendants under § 3582(c)(1)(A) as well. See United States v. Taylor, 820 F.
App’x 229, 230 (4th Cir. 2020) (reversing denial of defendant’s compassionate release
motion where district court failed to consider the policy statement set forth in § 1B1.3 and
its comments).

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     Case 1:17-cr-00012-MR-WCM Document 71 Filed 11/09/20 Page 4 of 11
lateral sclerosis (ALS), end-stage organ disease, [or] advanced dementia,”

U.S.S.G. § 1B1.13, cmt. n.1(A)(i). The defendant’s medical condition can

also qualify as an extraordinary and compelling reason if the defendant is:

           (I) suffering from a serious physical or medical
           condition,

           (II) suffering from a serious functional or cognitive
           impairment, or

           (III) experiencing deteriorating physical or mental
           health because of the aging process, that
           substantially diminishes the ability of the defendant
           to provide self-care within the environment of a
           correctional facility and from which he or she is not
           expected to recover.

U.S.S.G. § 1B1.13, cmt. n.1(A)(ii).

     The defendant’s age can also constitute an extraordinary and

compelling reason for a reduction in sentence. This standard is met if the

defendant: “(i) is at least 65 years old; (ii) is experiencing a serious

deterioration in physical or mental health because of the aging process; and

(iii) has served at least 10 years or 75 percent of his or her term of

imprisonment, whichever is less.”     U.S.S.G. 1B1.13, cmt. n.1(B).     The

defendant’s family circumstances can also serve as an extraordinary and

compelling reason if the defendant can establish “(i) [t]he death or

incapacitation of the caregiver of the defendant's minor child or minor

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    Case 1:17-cr-00012-MR-WCM Document 71 Filed 11/09/20 Page 5 of 11
children”; or “(ii) [t]he incapacitation of the defendant's spouse or registered

partner when the defendant would be the only available caregiver for the

spouse or registered partner.” U.S.S.G. 1B1.13, cmt. n.1(C). Finally, the

application note recognizes that “other reasons” as determined by the

Bureau of Prisons, may constitute an extraordinary and compelling reason

for a reduction in sentence. U.S.S.G. 1B1.13, cmt. n.1(D).

       Here, the Defendant claims that his underlying health conditions—

namely, nerve issues, a depressive disorder, polyneuropathy, asthma,

Charcot-Marie-Tooth (“CMT”), hypertension, trigeminal neuralgia, and

obesity—place him at a higher risk of COVID-19 related complications. Of

these conditions, however, only obesity, asthma, and hypertension have

been recognized as conditions which may place the Defendant at an

increased risk of severe illness.3 With respect to these conditions, the BOP

medical records submitted by the Government indicate that the Defendant’s

asthma is neither moderate nor severe and appears to be well-controlled

with medication. [See Doc. 69]. Further, his hypertension does not appear




3See  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
with-medical-conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov
%2Fcoronavirus%2F2019-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-
risk.html (last visited Oct. 29, 2020).

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       Case 1:17-cr-00012-MR-WCM Document 71 Filed 11/09/20 Page 6 of 11
to be dangerously high and is being appropriately treated with medication.

[Id.]. That leaves only obesity as a factor which places the Defendant at an

increased risk of severe illness. The mere fact, however, that the Defendant

faces a potential risk of contracting COVID-19 or suffering complications

therefrom is not sufficient to justify his release. As the Court of Appeals for

the Third Circuit recently noted, “the mere existence of COVID-19 in society

and the possibility that it may spread to a particular prison alone cannot

independently justify compassionate release, especially considering BOP's

statutory role, and its extensive and professional efforts to curtail the virus's

spread.” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).4 This is

especially true where, as here, the Defendant is housed in a facility that

currently has only three active cases among inmates and three among the

staff.5 For all these reasons, the Court concludes that the Defendant has




4See generally Federal Bureau of Prisons, COVID-19 Action Plan (Mar. 13, 2020, 3:09
PM), https://www.bop.gov/resources/news/20200313_covid19.jsp.
5See http://www.bop.gov/coronavirus (last visited Oct. 28, 2020) (also noting nine inmate
deaths, 207 inmates recovered, and 14 staff members recovered).



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     Case 1:17-cr-00012-MR-WCM Document 71 Filed 11/09/20 Page 7 of 11
failed to establish an “extraordinary and compelling reason” for a sentence

reduction under § 3582(c)(A)(1)(i).6

      Even if the Defendant could establish an extraordinary and compelling

reason for his release, the Court would still deny the Defendant’s motion.

Under the applicable policy statement, the Court must deny a sentence

reduction unless it determines the defendant “is not a danger to the safety of

any other person or to the community.” USSG § 1B1.13(2). Additionally, this

Court must consider the § 3553(a) factors, as “applicable,” as part of its

analysis. See § 3582(c)(1)(A); United States v. Chambliss, 948 F.3d 691,

694 (5th Cir. 2020).

      Here, the Defendant’s offense of conviction involved the receipt and

possession of hundreds of child pornography images and video files on an

SD card. [See Doc. 46: PSR at ¶¶ 11, 14]. On the Defendant’s cellphone

were 16 pictures and 4 videos of child pornography, as well as an image of

children engaged in sadomasochistic activities. [Id. at ¶ 14]. On a separate


6 The Defendant also appears to argue that extraordinary and compelling reasons exist
for a sentence reduction because “the sentencing ranges for sex offenders may be too
harsh.” [Doc. 65 at 2]. This argument is not an appropriate basis for a compassionate
release motion. Even if it were, the Court considered the appropriateness of the advisory
sentencing range at the time it imposed a particularized sentence on this Defendant and,
in so doing, chose to impose a sentence below that range. The Defendant has cited
nothing that was unknown to the Court at the time it imposed that sentence. This
argument, therefore, is without merit.

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     Case 1:17-cr-00012-MR-WCM Document 71 Filed 11/09/20 Page 8 of 11
SD card were an additional 406 images and 3 videos of child pornography,

for a total of more than 600 images. [Id. at ¶¶ 14, 32]. Many of the children

depicted were under 12 years of age. [Id. at ¶ 15]. The Court finds that the

sentence that was previously imposed adequately reflects the nature and

circumstances of the offense and the need for the sentence to afford

adequate deterrence to criminal conduct. See 18 U.S.C. §§ 3553(a)(1),

(a)(2)(B). As for the other relevant sentencing factors, the Defendant has

not given the Court sufficient reason to alter its original analysis of the

remaining factors under Section 3553(a).

     For all these reasons, the Court finds that there are no “extraordinary

and compelling reasons” for the Defendant’s release and that analysis of the

relevant § 3553(a) factors weigh in favor of his continued incarceration.

     Finally, the Government moves the Court for leave to file under

permanent seal the BOP medical records [Doc. 69] filed in support of its

Response. For grounds, counsel states that the medical records contain

highly personal and confidential material concerning the Defendant’s

medical conditions. [Doc. 70].

     Before sealing a court document, the Court must “(1) provide public

notice of the request to seal and allow interested parties a reasonable


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    Case 1:17-cr-00012-MR-WCM Document 71 Filed 11/09/20 Page 9 of 11
opportunity to object, (2) consider less drastic alternatives to sealing the

documents, and (3) provide specific reasons and factual findings supporting

its decision to seal the documents and for rejecting the alternatives.”

Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000). In the present

case, the public has been provided with adequate notice and an opportunity

to object to the Government’s motion. The Government filed its motion on

October 16, 2020, and such motion has been accessible to the public

through the Court’s electronic case filing system since that time. Further, the

Government has demonstrated that the subject medical records contain

sensitive information concerning the Defendant and that the public’s right of

access to such information is substantially outweighed by the Defendant’s

competing interest in protecting the details of such information. See United

States v. Harris, 890 F.3d 480, 492 (4th Cir. 2018). Finally, having

considered less drastic alternatives to sealing the documents, the Court

concludes that sealing of these medical records is necessary to protect the

Defendant’s privacy interests.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion for

Compassionate Release Pursuant to 18 U.S.C. § 2581(c)(1)(A) [Doc. 65] is

DENIED.


                                      10



    Case 1:17-cr-00012-MR-WCM Document 71 Filed 11/09/20 Page 10 of 11
     IT IS FURTHER ORDERED that the Government’s Motion to Seal

Exhibit [Doc. 70] is GRANTED, and the medical records submitted in support

of the Government’s Response [Doc. 69] shall be filed under seal and shall

remain under seal until further Order of the Court.

     IT IS SO ORDERED.
                              Signed: November 8, 2020




                                        11



    Case 1:17-cr-00012-MR-WCM Document 71 Filed 11/09/20 Page 11 of 11
